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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SANAD ALI YISLAM AL-KAZIMI
Petitioner,
v. Civil Action No. 05-2386 (RBW)
JOSEPH R. BIDEN, et al.,
Respondents.
)
ORDER

Due to a change in the Court’s calendar, it is hereby
ORDERED that the classified motion hearing currently scheduled for May 15, 2024, is
CONTINUED to May 22, 2024, at 11:00 a.m.

SO ORDERED this 5th day of April, 2024.

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RE B. WALTO
United States District Judge
